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             EXHIBIT 8
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Reg. No. 6,122,120         City of Oakland, a municipal corporation, acting by and through its Board of Port Commissioners
                            (CALIFORNIA municipal corporation ), AKA Port of Oakland
Registered Aug. 11, 2020   530 Water Street
                           530 Water Street
                           Oakland, CALIFORNIA 94607
Int. Cl.: 39
                           CLASS 39: Airport services
Service Mark
                           FIRST USE 12-00-2017; IN COMMERCE 12-00-2017
Principal Register
                           The mark consists of The letter "I' followed by an image of a airplane followed by the word
                           "OAK" with the words "FLY THE EAST BAY WAY" below.

                           SER. NO. 88-506,559, FILED 07-09-2019
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   REQUIREMENTS TO MAINTAIN YOUR FEDERAL TRADEMARK REGISTRATION

WARNING: YOUR REGISTRATION WILL BE CANCELLED IF YOU DO NOT FILE THE
       DOCUMENTS BELOW DURING THE SPECIFIED TIME PERIODS.


Requirements in the First Ten Years*
What and When to File:


    • First Filing Deadline: You must file a Declaration of Use (or Excusable Nonuse) between the 5th
      and 6th years after the registration date. See 15 U.S.C. §§1058, 1141k. If the declaration is accepted,
       the registration will continue in force for the remainder of the ten-year period, calculated from the
       registration date, unless cancelled by an order of the Commissioner for Trademarks or a federal court.


    • Second Filing Deadline: You must file a Declaration of Use (or Excusable Nonuse) and
      an Application for Renewal between the 9th and 10th years after the registration date.* See 15 U.S.C.
       §1059.


Requirements in Successive Ten-Year Periods*
What and When to File:

    • You must file a Declaration of Use (or Excusable Nonuse) and an Application for Renewal
      between every 9th and 10th-year period, calculated from the registration date.*

Grace Period Filings*

The above documents will be accepted as timely if filed within six months after the deadlines listed above
with the payment of an additional fee.

*ATTENTION MADRID PROTOCOL REGISTRANTS: The holder of an international registration with
an extension of protection to the United States under the Madrid Protocol must timely file the Declarations of
Use (or Excusable Nonuse) referenced above directly with the United States Patent and Trademark Office
(USPTO). The time periods for filing are based on the U.S. registration date (not the international registration
date). The deadlines and grace periods for the Declarations of Use (or Excusable Nonuse) are identical to
those for nationally issued registrations. See 15 U.S.C. §§1058, 1141k. However, owners of international
registrations do not file renewal applications at the USPTO. Instead, the holder must file a renewal of the
underlying international registration at the International Bureau of the World Intellectual Property
Organization, under Article 7 of the Madrid Protocol, before the expiration of each ten-year term of
protection, calculated from the date of the international registration. See 15 U.S.C. §1141j. For more
information and renewal forms for the international registration, see http://www.wipo.int/madrid/en/.

NOTE: Fees and requirements for maintaining registrations are subject to change. Please check the
USPTO website for further information. With the exception of renewal applications for registered
extensions of protection, you can file the registration maintenance documents referenced above online
at http://www.uspto.gov.

NOTE: A courtesy e-mail reminder of USPTO maintenance filing deadlines will be sent to trademark
owners/holders who authorize e-mail communication and maintain a current e-mail address with the
USPTO. To ensure that e-mail is authorized and your address is current, please use the Trademark
Electronic Application System (TEAS) Correspondence Address and Change of Owner Address
Forms available at http://www.uspto.gov.




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